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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

    NATALIA ORTIZ, on behalf of herself and a               Case No. _____
    class of similarly situated persons,
                                                            CLASS ACTION COMPLAINT
                      Plaintiff,
                                                            JURY DEMANDED


    v.

    SABA UNIVERSITY SCHOOL OF
    MEDICINE; and R3 EDUCATION, INC.,

                     Defendants.

                                           COMPLAINT

         Plaintiff Natalia Ortiz (“Plaintiff”), individually and on behalf of all others similarly

situated, through her counsel, files this Complaint against Saba University School of Medicine

(“Saba”) and R3 Education, Inc. (“R3”) (collectively “Defendants”). Plaintiff makes the

allegations in this Complaint based on personal knowledge as to herself and her own acts, and on

information and belief as to all other matters. Plaintiff’s information and belief is based on, among

other things, the independent investigation of undersigned counsel. 1

I.       INTRODUCTION

         1.     From their offices in Massachusetts, Defendants operate a for-profit medical school

in the Caribbean called Saba University.



1
  This investigation included, but is not limited to, a review and analysis of: (i) interviews with
affected individuals; (ii) public reports and news articles; (iii) other publicly available material and
data identified herein; and (iv) documents and information received pursuant to Freedom of
Information Act Requests. The investigation into the factual allegations contained herein is
continuing, and many of the facts supporting the allegations are known only to Defendants or are
exclusively within its custody or control. Plaintiff believes a reasonable opportunity for discovery
will afford further substantial evidentiary support for the allegations contained herein.

                                               06958734.1                                      06955260.1
                                               06948367.3
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       2.      Caribbean medical schools provide students an alternative pathway to becoming a

doctor, typically admitting applicants with lower GPAs and MCAT scores than their United States

counterparts. As a result, Caribbean medical schools are often perceived as less competitive than

their mainland counterparts.

       3.      To overcome these negative perceptions—since at least 2015—Defendants have

induced students to enroll at Saba with false assurances of success by advertising inflated and

misleading outcomes that were calculated by excluding large numbers of unsuccessful students.

       4.      Defendants have and continue to lure potential students with false guarantees of

passing the United States Medical Licensing Examination (“USMLE”), a multi-step examination

that medical students must pass before obtaining their medical license.

       5.      Throughout the Class Period, as defined below, Defendants heavily promoted

anywhere from a 98% to 100% first-time time passage rate on the USMLE and touted on Saba’s

website, social media pages, online advertisements, and in direct communications with consumers

that “[v]irtually every student [at Saba] passes the USMLE Step 1 on their first attempt,” that the

passage rate was “better than most U.S. Schools,” 2 and that the 98% to 100% passage rate is a

“testament to the quality of [the Saba] education.” 3

       6.      What Defendants do not disclose to the public is that only approximately half of

the students who enroll at Saba even sit for the USMLE because they either drop out of the program




2
      See e.g., FAQ: What Is the Success Rate of Your Graduates?, SABA UNIVERSITY,
https://www.saba.edu/faq/ (last accessed Jan. 30, 2023); Just Getting to Know Saba—Here are 5
Fast Facts, SABA UNIVERSITY, https://www.saba.edu/resources/blog/just-getting-to-know-saba-
here-are-5-fast-facts/ (last accessed Aug. 23, 2023).
3
      Search      Results    for     “Saba   University,”    FACEBOOK      AD   LIBRARY,
https://www.facebook.com/ads/library/?active_status=all&ad_type=all&country=US&q=saba%2
0university (last accessed Aug. 23, 2023).
                                                2
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or because Defendants—in an effort to make their percentages appear high—bar students from

taking the exam by requiring them to obtain a certain score on a Saba-administered pretest,

something students are not told before they enroll. If students do not pass Saba’s pretest after four

attempts, they are automatically dismissed from the program.

        7.      By concealing the fact that their USMLE calculation excludes the many students

who do not take the exam, Defendants deceive prospective and current students about the absolute

and relative (as compared to U.S. institutions) quality of the Saba education. In fact, Saba’s

USMLE “success” does not come from preparing students well, but from excluding the students

it has failed to prepare from its calculations. By contrast, nearly all students at U.S. medical schools

sit for and pass Step 1 of the USMLE. 4

        8.      Defendants market other aspects of Saba’s program in a deceptive manner as well.

For example, since at least 2013, Defendants have advertised that Saba has a residency attainment

rate of 94% or more when, in reality, the majority of Saba students do not even make it through

their second year to sit for the USMLE, let alone obtain a residency.

        9.      These representations communicate to students that taking on substantial debt to

attend Saba will be worth the risk because at Saba, they are near certain to succeed. But, both Saba

and R3 know that many—if not most—of the students who enroll will not make it through even

the first half of the program.




4
         See Performance Data, UNITED STATES MEDICAL LICENSING EXAMINATION,
https://www.usmle.org/performance-data (last accessed Aug. 23, 2023) (providing data that 91-
97% of examinees from US/Canadian Schools passed Step 1 from 2019 through 2022); see also
AAMC Data Snapshot: Graduation Rates and Attrition Rates of U.S. Medical Schools,
ASSOCIATION          OF       AMERICAN         MEDICAL        COLLEGES       (October     2022),
https://www.aamc.org/media/48526/download (last accessed Aug. 23, 2023) (“The national total
attrition rate remained relatively stable at an average of 3.2%” from 1997 through 2017).

                                                   3
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       10.     Plaintiff brings this case on behalf of herself and a class of individuals who enrolled

at Saba from September of 2017 to the present (“Class Period”) who: (i) are no longer enrolled

and (ii) did not sit for the USMLE Step 1 exam (the “Class”). Plaintiff seeks declaratory and

injunctive relief barring Defendants from collecting on any loans or other tuition payment plans of

Plaintiff or members of the Class and requiring them to refund payments made by the Class

including tuition and fees; for actual or statutory damages; for attorneys’ fees expenses, and costs;

and for any additional relief determined by this Court to be just, equitable, and proper.

II.    PARTIES

       11.     Plaintiff Natalia Ortiz (“Plaintiff” or “Ms. Ortiz”) resides in Tampa, Florida. She

attended Saba University School of Medicine from September of 2019 through August of 2022,

when she was dismissed from the school after failing to pass Saba’s pre-test, which it requires

prior to certifying students’ registration for the USMLE.

       12.     Defendant Saba University School of Medicine (“Saba”) is a for-profit medical

school located on Saba Island in the Dutch Caribbean, with its headquarters and principal place of

business in Devens, Massachusetts. 5 Saba was founded in 1986, when the government of Saba

Island and two physicians from Florida, Dr. Patricia Lynn Hough and her husband, Dr. David Leon

Fredrick, started a non-profit foundation to provide medical education to citizens of the island and

neighboring nations, including the United States of America and Canada. 6 Over the next several




5
        Saba University School of Medicine 2020-2022 Catalog, SABA UNIVERSITY,
https://www.saba.edu/media/1855/saba-catalog.pdf (last accessed Aug. 23, 2023).
6
       See Saba University School of Medicine Site Inspection Team’s Final Report, MEDICAL
BOARD OF CALIFORNIA DIVISION OF LICENSING (May 2004), https://docplayer.net/14525693-Saba-
university-school-of-medicine-site-inspection-team-s-final-report.html (last accessed Aug. 23,
2023); see also Caribbean Medical School Founder Guilty on Taxes, BLOOMBERG NEWS (Oct. 25,


                                                 4
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years, the government stepped away from the project as it evolved from a non-profit foundation to

a for-profit medical school owned and operated by the physician couple. 7 The plan came to fruition

in 1992 with the opening of Saba University School of Medicine, with the first class of students

matriculating in September of 1993. 8

        13.     Defendant R3 Education, Inc. (“R3”) is a Massachusetts-based holding company

incorporated under the laws of the state of Delaware that manages for-profit medical schools,

including Saba. 9 Like Saba, R3’s headquarters and principal place of business are in Devens,

Massachusetts.

III.    JURISDICTION AND VENUE

        14.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)

because this is a class action with a proposed Class in excess of 100 members, the aggregate claims

of the Class members exceed $5 million exclusive of interest and costs, and one or more members

of the Class is a citizen of a different state than one or more Defendants.

        15.     This Court has personal jurisdiction over Saba and R3 because they both do

business in this District and a substantial part of the events or omissions giving rise to the claims

occurred in this District.




2013),     https://www.ctinsider.com/news/article/Caribbean-medical-school-founder-guilty-on-
taxes-4927048.php (last accessed Aug. 23, 2023).
7
        Id.
8
        Id.
9
        R3                Education                 Inc.,                   BLOOMBERG,
https://www.bloomberg.com/profile/company/1333985D:US (last accessed Aug. 23, 2023).
                                                 5
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       16.       While basic coursework is administered on the island of Saba, all school

administrative    functions—including      admissions,    recruiting,   advertising,   and   financial

aid/processing—are based out of Defendants’ office in Devens, Massachusetts. 10

       17.       Saba employees working in school administration, admissions, marketing,

recruitment, and finance are also based in—or if they are remote, report to—Defendants’ office in

Devens, Massachusetts. 11

       18.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events giving rise to the claims occurred in this District.

IV.    FACTUAL ALLEGATIONS

       A.        History and Background of Saba University School of Medicine

       19.       Saba is a for-profit medical school located on Saba Island, a special municipality

of the Netherlands, located in the Caribbean.

       20.       R3 owns 100% of Saba. 12

       21.       Saba and R3 share a corporate office, located at 27 Jackson Road, Suite 301,

Devens, Massachusetts 01434.




10
       Saba’s website describes the Massachusetts office as “Saba’s administrative offices.” See
Study at Saba, SABA UNIVERSITY, https://www.saba.edu/ (last accessed Aug. 23, 2023).
11
       See, e.g., Akim Bell, LinkedIn, https://www.linkedin.com/in/akim-bell-b7161a4/ (last
accessed Aug. 23, 2023); Joey Vigeant, LinkedIn, https://www.linkedin.com/in/joeyvigeant/ (last
accessed Aug. 23, 2023); Terry J. Moya, LinkedIn, https://www.linkedin.com/in/terryjmoya/ (last
accessed Aug. 23, 2023).
12
        Saba University School of Medicine 2020-2022 Catalog, SABA UNIVERSITY,
https://www.saba.edu/media/1855/saba-catalog.pdf (last accessed Aug. 23, 2023).
                                                  6
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       22.     Saba is one of around fifty medical schools located in the Caribbean that are

categorized as offshore institutions, meaning they cater primarily to American and Canadian

students planning to practice medicine in the United States or Canada. 13

       23.     Saba is accredited by an organization of the Netherlands and Flanders named the

Nederlands-Vlaamse Accreditatieorganisatie (“NVAO”). 14

       24.     The Saba curriculum contains ten total semesters, with the first half devoted to basic

sciences and the second half to clinical medicine.

       25.     According to Saba’s student consumer information page, the total cost of

attendance increases every year.

       26.     Saba’s cost of attendance for 2017-2018, with each semester costing at least

$27,395, was as follows: 15




13
        See Sateesh B. Arja et al., Impact of Accreditation on Caribbean Medical Schools’
Processes,      12(4)      CAN.       MED.      EDUC.       J.     79,      80       (2021),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8463220/ (last accessed Aug. 23, 2023).
14
         Saba University School of Medicine Assessment Panel Report, DOCTOR OF MEDICINE
PROGRAMME                     (M.D.)               (Jan.                12,         2018),
https://publicaties.nvao.net/5bdc6a5c2774d_006619%20report%20SUSOM%20wo-
ma%20Medicine.pdf (last accessed Aug. 23, 2023); Comparability Decisions, NATIONAL
COMMISSION ON FOREIGN MEDICAL EDUCATION AND ACCREDITATION, U.S. DEP’T OF ED.,
https://sites.ed.gov/ncfmea/comparability-decisions/ (last accessed Aug. 23, 2023).
15
        See Saba University School of Medicine, Student Consumer Information, INTERNET
ARCHIVE                                   WAYBACK                               MACHINE,
https://web.archive.org/web/20170720220311/http://saba.edu/images/Saba_Student_Consumer_I
nformation.pdf (last accessed Aug. 23, 2023).
                                                 7
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       27.     Saba published similar data for the cost of attendance in 2020-2021, with each

semester costing at least $33,158: 16




16
      See Saba University School of Medicine, Student Consumer Information, INTERNET
ARCHIVE WAYBACK MACHINE, https://sabav3-web-stage.azurewebsites.net/media/1948/student-
consumer-info-saba-university-march-2021.pdf (last accessed Aug. 23, 2023).

                                              8
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         28.    Saba’s cost of attendance for 2021-2022, with each semester costing at least

$41,465, was: 17




         29.    Saba operates on a year-round schedule, starting classes in January, May, and

September and admitting approximately 90 students per cohort, or 270 students per year. 18

         30.    Upon information and belief, from September of 2017 through the present, Saba

has enrolled approximately 1,620 students.

         31.    Based on Saba’s cost of attendance figures, and accounting only for tuition at 2017-

2018 rates, Saba received approximately $24.3 million from these 1,620 students attending just

one semester of classes; this figure increases to $30.7 million under the 2021-2022 tuition rates.

         32.    Students have various ways of paying to attend Saba, including federal loans.




17
        See       Student      Consumer        Information,        SABA        UNIVERSITY,
https://www.saba.edu/media/3665/student-consumer-info-saba-university-mar-2023.pdf    (last
accessed Aug. 23, 2023).
18
         Admissions, SABA UNIVERSITY, https://www.saba.edu/admissions/ (last accessed Aug. 23,
2023).
                                                 9
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       33.     Saba’s NVAO accreditation grants it eligibility to participate in the Higher

Education Act’s (“HEA”) Title IV student aid programs, allowing students to finance their

education through federal student loans if all requirements of the HEA are satisfied. 19

       34.     Since 2013, when it first became eligible to receive Title IV funds, Saba has

received over $120 million in federal student aid revenue. 20

       35.     According to the Department of Education’s most recent data, students that

complete the medical program at Saba will incur—on average—$219,276 in Title IV loan debt. 21

       36.     These figures are similar to the Department’s data from 2019, revealing that Saba

students who complete the program will incur—on average—$208,638 in Title IV loan debt. 22

       37.     Saba retains 100% of the Title IV federal funds it receives on behalf of a medical

student at the end of each semester, regardless of whether the student graduates, withdraws, or is

dismissed from the institution.




19
         See Blog – Saba “the European Medical School in the Caribbean”, SABA UNIVERSITY,
https://www.saba.edu/resources/blog/saba-the-european-medical-school-in-the-caribbean          (last
accessed Aug. 23, 2023); Foreign School Eligibility Criteria, FEDERAL STUDENT AID,
https://fsapartners.ed.gov/sites/default/files/attachments/2019-07/FSEligEligibilityCriteria.pdf
(last accessed Aug. 23, 2023).
20
        This figure is based on counsels’ analysis of publicly available materials available at: Title
IV Program Volume Reports, FEDERAL STUDENT AID, https://studentaid.gov/data-
center/student/title-iv (last accessed Aug. 23, 2022).
21
         Saba     University    School      of     Medicine,      FEDERAL      STUDENT           AID,
https://studentaid.gov/understand-aid/types/international/saba-university-school-medicine        (last
accessed Aug. 23, 2023).
22
       Foreign Medical School Information: Saba University School of Medicine, FEDERAL
STUDENT AID, https://studentaid.gov/sites/default/files/saba-university-school-medicine.pdf (last
accessed Aug. 23, 2023).
                                                 10
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       B.      History and Background of R3 Education, Inc.

       38.     R3’s principal place of business is 27 Jackson Road, Suite 301, Devens,

Massachusetts 01434—the same address as Saba’s corporate offices.

       39.     R3 is registered to do business in Massachusetts.

       40.     In addition to Saba, R3 owns two other medical schools in the Caribbean, the

Medical University of the Americas (Saints Kitts and Nevis) and St. Matthew’s University

(Cayman Islands). 23

       41.     Upon information and belief, Equinox Capital purchased Saba for $37.6 million in

April of 2007 from the founders of the medical school, Dr. Hough and Dr. Fredrick.

       42.     Upon information and belief, Equinox Capital purchased Saba around the time Dr.

Hough was falsifying tax returns and conspiring to defraud the Internal Revenue Service. See

United States v. Hough, 803 F.3d 1181, 1184 (11th Cir. 2015) (affirming convictions of conspiracy

to defraud the IRS and filling false income tax returns in 2005, 2007, and 2008, with the Court

noting that “[b]y the mid–2000s, [Saba was] generating annual profits in the millions of dollars”).

       43.     Upon information and belief, Equinox Capital was later renamed R3 Education,

Inc.

       44.     Upon information and belief, R3 is now owned by Trinity BidCo, LLC.

       45.     Upon information and belief, Trinity BidCo, LLC is owned by Global University

Systems Holdings BV.

       46.     Upon information and belief, R3 continues to enjoy annual profits in the millions

of dollars from students like Plaintiff.




23
       See R3 EDUCATION, INC., https://www.r3education.com/ (last accessed Aug. 23, 2023).

                                                11
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       47.    According to the “tuition and fees payment policy” set forth in Saba’s course

catalog, tuition payments are to be made payable to: “c/o R3Education Inc.” at R3 and Saba’s

Devens, Massachusetts headquarters. Tuition invoices sent to students also required checks to be

made payable to: “Saba University School of Medicine c/o R3 Education Inc” and sent to R3 and

Saba’s headquarters in Devens, Massachusetts.

       48.    Upon information and belief, R3 and Saba share officers, directors, and other high-

level executive personnel including, but not limited to: Steven C. Rodger (CEO and Director of

R3 and President and Director of Saba); Terry J. Moya (Chief Financial Officer of both R3 and

Saba); Gregory S. Czuba (Director of both R3 and Saba); Donald Donahue (Director of both R3

and Saba); Patrick J. Donnellan (Secretary of R3 and Secretary and Director of Saba); Joseph Chu

(Chief Academic Officer of R3 and President of Saba); and Maurice Clifton (Senior Vice President

for Medical Education of R3 and Executive Dean of Saba). 24

       49.    Upon information and belief, from its headquarters in Devens, Massachusetts, R3

directs and controls the administration of Saba, including Saba’s advertising, recruitment,

admissions, and enrollment, which includes decisions about how and where to advertise the

USMLE passage rates at issue in this Complaint, as well as the implementation of all marketing

and communications about those rates.




24
        See, Maurice Clifton, LINKEDIN, https://www.linkedin.com/in/mauriceclifton/ (last
accessed Aug. 23, 2023); Meet Our Faculty – Joseph Chu, SABA UNIVERSITY,
https://www.saba.edu/saba-faculty/administration/joseph-chu (last accessed Aug. 23, 2023); Saba
University School of Medicine 2020-2022 Catalog p. 52, SABA UNIVERSITY,
https://www.saba.edu/media/1855/saba-catalog.pdf (last accessed Aug. 23, 2023); Business Entity
Summary: R3 Education Inc., SECRETARY OF THE COMMONWEALTH OF MASSACHUSETTS,
https://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?sysvalue=VQwwwBVstZ
2kAhBmktBlmaHZEIvoti4_zp8rBMP78Lo- (last accessed Aug. 23, 2023).
                                                12
        Case 1:23-cv-12002-WGY Document 1 Filed 08/30/23 Page 13 of 37




       50.     In comments to the Department of Education, R3 has explained that it implements

Title IV requirements for the schools it owns and operates, including Saba. 25

       51.     R3 has stated in federal court that it runs Saba as an alias company. 26

       52.     Defendants have operated as a common enterprise while engaging in the deceptive

acts and practices and other violations of law alleged below. Defendants have conducted the

business practices described below through interrelated companies that have common ownership,

officers, employees, and office locations. Because R3 and Saba have operated as a common

enterprise, each of them is liable for the acts and practices alleged below.

       C.      Defendants’ Deceptive USMLE Marketing Campaign

       53.     All medical school graduates seeking to practice in the United States are required

to pass a series of USMLE exams before obtaining their medical license. 27

       54.     Medical students typically take the USMLE Step 1 after they complete their basic

science courses—usually after two years or five semesters. 28



25
        See Comments from R3 to Wendy Macias of the Department of Education. Proposed
Negotied            [sic]         Rulemaking              on          Foreign           Schools,
https://www2.ed.gov/policy/highered/reg/hearulemaking/2009/comments09/c220.pdf            (stating
“R3 Education Inc. owns three foreign medical schools. As such, we have a unique perspective on
the implementation of the [Higher Education Opportunity Act]’s changes to the Title IV eligibility
provisions for foreign medical schools.”) (last accessed Aug. 23, 2023).
26
        Demmons v. R3 Educ., Inc., 547 B.R. 655, 657 (E.D. La. 2016) (“Before the Court is
Defendant’s, R3 Education, Inc. d/b/a Saba University School of Medicine (‘Saba’), Motion
and Incorporated Memorandum in Support of Motion to Withdraw the Reference.”) (emphasis
added).
27
         Federal Student Aid, Foreign Schools Handbook, pg. 3-44 (Oct. 2016), available at
https://fsapartners.ed.gov/sites/default/files/2021-03/FSHandbookMasterFile.pdf.
28
        Id.;   see   also    What   is   the   USMLE?,      THE PRINCETON REVIEW,
https://www.princetonreview.com/med-school-advice/usmle (last accessed Aug. 23, 2023); 9
Things      to  Know     Before   Taking   USMLE     Step     1   Exam,   BOARDVITALS,


                                                 13
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       55.      Other than being enrolled in—or a graduate of—a medical school, there are no

prerequisites for taking Step 1 of the USMLE. Registration for the exam requires only that the

student complete an online application and that the school sign a Certificate of Identification (Form

186) confirming the student’s identification. 29

       56.      The first time USMLE Step 1 passage rate at United States and Canadian medical

schools was 97% in 2019, 98% in 2020, 96% in 2021, and 93% in 2022. 30

       57.      Since at least June 2015, Defendants have represented on Saba’s website a USMLE

Step 1 passage rate of 95%-100% for first-time test takers. 31

       58.      Defendants’ widespread representations regarding Saba students’ USMLE Step 1

passage rate include:

             A. “Virtually every student passes the USMLE Step 1 on their first attempt.” 32




https://www.boardvitals.com/blog/9-things-to-know-before-taking-usmle-step-1-exam/              (last
accessed August 23, 2023).
29
        See Who is Eligible to Take the USMLE Steps?, UNITED STATES MEDICAL LICENSING
EXAMINATION, https://www.usmle.org/bulletin-information/eligibility (last accessed Aug. 23,
2023); Interactive Web Applications Frequently Asked Questions, EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES, https://iwa2.ecfmg.org/iwafaq.asp (last accessed Aug. 23, 2023).
30
        See Performance Data, UNITED STATES MEDICAL LICENSING EXAMINATION,
https://www.usmle.org/performance-data, (last accessed Aug. 23, 2023).
31
        See,    e.g.,   USMLE       Step   1  Exam    Preparation,    SABA UNIVERSITY,
https://web.archive.org/web/20150624115650/http://www.saba.edu/curriculum/academics/mle-
test-preperation (archived on June 24, 2015).
32
        FAQ: What Is the Success Rate of Your Graduates?, SABA UNIVERSITY,
https://www.saba.edu/faq/ (last accessed Jan. 30, 2023).
                                                   14
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          B. “98% 1st Time Pass Rate for USMLE Step 1 & 2 (avg. 2018-
             2022).” 33




          C. “Saba students have a 99% first-time pass rate on the USMLE.
             Based on data compiled by U.S. News and World Report, that not
             only exceeds any other Caribbean school, it’s better than most U.S.
             schools.” 34




33
        See Join an Accredited Med School with 30+ Years of Success, SABA UNIVERSITY,
https://courses.saba.edu/start-med-school-usa-meta (last accessed Aug. 23, 2023).
34
        Just Getting to Know Saba—Here are 5 Fast Facts, SABA UNIVERSITY,
https://www.saba.edu/resources/blog/just-getting-to-know-saba-here-are-5-fast-facts/ (last
accessed Aug. 23, 2023).
                                             15
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       59.    In addition to the school’s website, Defendants make similar representations in

prominent locations throughout Saba’s social media accounts.

       60.    As of the date of this Complaint, Saba’s profiles on primary social media sites

advertise a 100% USMLE passage rate:

              A. Twitter: “Saba offers an excellent medical education with
                 students consistently achieving a first-time average pass rate of
                 100% on the USMLE Step 1 (2021).” 35




35
     See @sabamedschool, TWITTER, https://twitter.com/sabamedschool?s=20&t=hB5-
jyQVHaiQrXGEMUQ1UA (last accessed Aug. 23, 2023).

                                              16
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              B. LinkedIn: “We offer an excellent medical education with
                 students consistently achieving a first-time average pass rate of
                 100% (2021).” 36




              C. Instagram: “Saba offers an excellent medical education. Our
                 students have consistently achieved an average first-time pass
                 rate of 100% on USMLE Step 1 (2021).” 37




              D. Facebook: “Saba University offers an excellent medical
                 education with students consistently achieving a first-time
                 average pass rate of 99% on the USMLE Step 1.”38




36
        See      Saba       University     School         of      Medicine,          LINKEDIN,
https://www.linkedin.com/school/sabamedschool/ (last accessed Aug. 23, 2023).
37
       See @sabamedschool, INSTAGRAM, https://www.instagram.com/sabamedschool/ (last
accessed Aug. 23, 2023).
38
        Saba University School of Medicine, INTERNET ARCHIVE WAYBACK MACHINE,
https://web.archive.org/web/20230522134731/https://www.facebook.com/sabamedschool (last
accessed Aug. 23, 2023).

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       61.     Defendants’ representations on social media and Saba’s website were nearly

identical in 2019:

               A. Saba’s Website as of April 4, 2019: “Saba University Medical School graduates
                  have an excellent track record. Since 1993, more than 2,500 doctors have
                  received their start at Saba University School of Medicine. Our graduates have
                  an extensive track record of excellent performance on the critical USMLE Step
                  1 exam. In 2017, the first-time passing rate of Saba students on the USMLE
                  Step 1 was 100%.” 39




               B. Saba’s Website as of April 4, 2019: “Saba graduates have achieved a record of
                  success unmatched by graduates of other international medical schools. In




39
        FAQs, archived in April 4, 2019, INTERNET ARCHIVE WAYBACK MACHINE,
https://web.archive.org/web/20190404064227mp_/https://www.saba.edu/faqs#faqnoanchor (last
accessed Aug. 23, 2023).
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                 recent years, 99% of our students have passed the USMLE Step 1 exam on their
                 first attempt.” 40




              C. Saba’s Website as of June 14, 2017: “In recent years, 99% of our students have
                 passed the USMLE Step 1 Exam on their first attempt.”




              D. Saba’s Website as of June 14, 2017 and July 22, 2019: “100% USMLE Step 1
                 First-Time Pass Rate.” 41




40
        Life at Saba, archived on April 14, 2019, INTERNET ARCHIVE WAYBACK MACHINE,
https://web.archive.org/web/20190414221205/https://www.saba.edu/about-us (last accessed Aug.
23, 2023).
41
        Why      Saba,    archived    June     24,   2017      &     July        23,    2020,
https://web.archive.org/web/20200723042504/https://www.saba.edu/why-saba/      (last accessed
Aug. 23, 2023).
                                             19
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              E. Facebook as of September 18, 2019: “Did you know that Saba University
                 students achieved a 99% first-time pass rate on the USMLE Step One from
                 2015 to 2019?” 42




       62.    The representations also appear in paid advertisements. 43

       63.    For example, one Saba Facebook advertisement that launched in May of 2023

provides: “Between 2018-2022, the first-time pass rate among Saba students was 98% on the

USMLE Step 1 & 2. This is a testament to the quality of our education.” 44




42
        Saba       University       School          of         Medicine,        FACEBOOK,
https://www.facebook.com/sabamedschool (last accessed Aug. 23, 2023).
43
        Search      Results   for     “Saba    University,”  FACEBOOK      AD   LIBRARY,
https://www.facebook.com/ads/library/?active_status=all&ad_type=all&country=US&q=saba%2
0university (last accessed Aug. 23, 2023) (emphasis added).
44
       Id.
                                               20
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       64.     An ad released in July of 2023 claims: “Here are 4 top reasons to start your

application today with Saba University School of Medicine . . . 98% USMLE Step 1 & 2 first-time

pass rate (2018-2022).” 45




45
       Id.

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            65.   Defendants marketing also emphasizes the importance of the published USMLE

rates. 46




            66.   As set forth in more detail below, Defendants make additional misrepresentations

regarding Saba’s USMLE passage rates in emails sent directly to prospective students and during

in-person recruitment events.

            D.    Defendants Misrepresented Saba’s USMLE Passage Rates to Plaintiff

            67.   Ms. Ortiz has long wanted to become a physician. In pursuit of that goal, she earned

a BA in chemistry from Florida International University. She also took the MCAT and researched

medical schools. After conducting online research and talking to friends and family, she learned

about Saba.

            68.   On or around November of 2018, Ms. Ortiz visited Saba’s website and was

immediately impressed by the high USMLE passage rate. She requested more information about

the school’s curriculum, academic programs, and general atmosphere.

            69.   On November 2, 2018, Chris Cebula, Saba’s Director of Admissions, responded

via email to Ms. Ortiz’s request for more information.




46
        What our students say, INTERNET ARCHIVE WAYBACK MACHINE, archived July 23, 2020,
https://web.archive.org/web/20200723042542/https://www.saba.edu/ (last accessed Aug. 23,
2023).

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        70.     In this email, Mr. Cebula represented to Ms. Ortiz that “virtually every Saba

student passes the USMLE on their first attempt.”




(See Exhibit 1). 47

        71.     As Ms. Ortiz continued to research medical schools, Saba sent her another email

on May 31, 2019, which stated that Saba has a “100% USMLE Step 1 first-time pass rate.” (See

Exhibit 2) (emphasis in original).

        72.     On June 6, 2019, Ms. Ortiz received another email from Saba, this time inviting her

to attend an admissions open house hosted by Saba on June 6, 2019. The invitation touted Saba’s

USMLE passage rate:




(See Exhibit 3).

        73.     Ms. Ortiz attended the open house, where Defendants’ employees reiterated Saba’s

100% pass rate for the USMLE Step 1.

        74.     After Ms. Ortiz attended the open house, Defendants continued to recruit her by

emphasizing Saba’s high USMLE passage rates. On June 8, 2019, she received an email stating




47
  The highlights that appear in Exhibits 1 – 5 were already in the documents when Ms. Ortiz
provided the files to counsel.
                                                24
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“Saba’s 100% first-time pass rate on the USMLE Step 1 outperformed most medical schools –

and is the clear leader among international schools.” (See Exhibit 4) (emphasis added).

        75.    On June 16, 2019, Defendants sent another email to Ms. Ortiz representing in bold

that Saba has a “100% USMLE Step 1 first-time pass rate.”




(See Exhibit 5).

        76.    Because of these apparent high-performance metrics, Ms. Ortiz applied to Saba a

few days after the open house.

        77.    Ms. Ortiz was promptly accepted, and, in September 2019, she started classes at

Saba.

        E.     Defendants’ USMLE Rates Were—and Continue to be— False and
               Misleading

        78.    What Defendants do not disclose when making these USMLE representations is

that many students who enroll at Saba never actually take the USMLE—an alarming statistic that

has been getting progressively worse in recent years.

        79.    According to data produced to undersigned counsel by the Department of Education

pursuant to the Freedom of Information Act (“FOIA”), since 2015, the following number of Saba

students have sat for the USMLE Step 1 exam, per year:

              Year         Saba Students Sitting for the         Percentage of Saba Students
                            USMLE Step 1 Exam (data               Taking the USMLE Step 1
                          provided by U.S. Department of        (assuming 270 students enroll
                                    Education)                            per year)
              2015                     172                                  64%

              2016                       169                                 63%


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               2017                           152                                  56%

               2018                           144                                  53%

               2019                           154                                  57%

               2020                           71                                   26%

               2021                           89                                   33%

              Average                         136                                  50%


        80.         According to this data, of the approximately 270 students who matriculate at Saba

each year, an average of 50% (or 136 students per year) never sit for the USMLE Step 1. That is

an attrition rate of nearly 50% over the first two years.

        81.         By contrast, of the 64,830 students that matriculated at U.S. medical schools from

2017-2019, 48 57,864 students (89.3%) sat for Step 1 and 55,517 students (85.6%) passed in their

first attempt. 49

        82.         Saba’s repeated representations of a 99% or 100% USMLE Step 1 passage rate

were, and continue to be, materially false and misleading as they omit that approximately half of

all students who enroll at Saba never sit for the exam.




48
        2020 Fall Applicant, Matriculant, and Enrollment Data Tables, ASSOCIATION OF
AMERICAN MEDICAL COLLEGES, https://www.aamc.org/media/49911/download (last accessed
Aug. 23, 2023). The attrition rate at U.S. medical schools for the entire program—let alone the
first two years—is less than 20%. See also Graduation Rates and Attrition Rates of U.S. Medical
Students,     ASSOCIATION      OF     AMERICAN       MEDICAL      COLLEGES       (Oct.   2022),
https://www.aamc.org/media/48526/download (last accessed Aug. 23 4, 2023).
49
      National Data on Medical Student Outcomes by MCAT and GPA, ASSOCIATION OF
AMERICAN MEDICAL COLLEGES, https://www.aamc.org/services/mcat-admissions-officers/mcat-
outcomes-data (last accessed Aug. 23, 2023).
                                                    26
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         83.   This critical data is not disclosed when Saba represents, for example, that “virtually

every student passes the USMLE Step 1 on their first attempt” or that Saba’s passage rates are

“better than most U.S. schools.” 50

         84.   If Defendants had disclosed the truth about the number of Saba students who

matriculate but do not sit for the USMLE, Ms. Ortiz would not have enrolled at Saba and taken on

large amounts of student loan debt to attend.

         85.   Instead, relying on Saba’s false and misleading representations, Ms. Ortiz took out

approximately $135,000 in federal loans to attend Saba for two years, her family additionally paid

over $20,000 in tuition and fees, and—as explained further below—she has nothing to show for

it. 51

         F.    In Order to Protect Access to Title IV Funding, Saba Requires Students to
               Pass an Internal Pretest Before Certifying Students’ Identities to Complete
               the Application for the USMLE

         86.   In order to receive Title IV funding, foreign medical schools such as Saba must

have at least a 75% annual passage rate on each part of the USMLE. 52



50
        See FAQ: What Is the Success Rate of Your Graduates?, SABA UNIVERSITY,
https://www.saba.edu/faq/ (last accessed Aug. 23, 2023); Just Getting to Know Saba—Here are 5
Fast Facts, Saba Univ., https://www.saba.edu/resources/blog/just-getting-to-know-saba-here-are-
5-fast-facts/ (last accessed Aug. 23, 2023).
51
        On average, under the 2021 rates described above, students who make it through two years
at Saba will have paid approximately $165,000 to attend (a minimum of $41,465 per semester over
four semesters).
52
         Federal Student Aid, Foreign Schools Handbook, pg. 3-44 (Oct. 2016), available at
https://fsapartners.ed.gov/sites/default/files/2021-03/FSHandbookMasterFile.pdf; see also 34
C.F.R. § 600.55(f)(1)(ii) (“for a foreign graduate medical school outside of Canada, for Step 1,
Step 2–CS, and Step 2–CK, or the successor examinations, of the USMLE administered by the
ECFMG, at least 75 percent of the school’s students and graduates who took that step/test of the
examination in the year preceding the year for which any of the school's students seeks a title IV,
HEA program loan must have received a passing score on that step/test and are taking the step/test
for the first time…”).
                                                27
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       87.     Upon information and belief, to ensure that Saba’s rates remain above the 75%

threshold necessary to secure access to federal student aid, Defendants require students who make

it through the first two years (five semesters) to pass a Saba-administered pretest before Saba will

certify their registration, i.e., complete the Form 186, so the students may sit for the USMLE Step

1 exam.

       88.     If students do not obtain a high enough score on Saba’s pretest, Saba will not certify

them for the USMLE and, after four failed attempts, will automatically dismiss them from the

program.

       89.     The pretest prevents students who might jeopardize Saba’s USMLE passage rates

from even taking the exam. Although this practice seriously misleads prospective students, it

serves at least two business purposes of Defendants.

       90.     First, it allows Saba to promote a much higher passage rate to prospective students

than would be the case if this barrier did not exist.

       91.     Second, culling out weaker test-takers with the pretest allows Saba to meet the 75%

passage eligibility threshold for foreign medical schools to participate in the Title IV federal

financial aid programs, an essential source of revenue for Saba. 53 This scheme to weed out some

students ensures that Saba retains Title IV eligibility, while also continuing to profit from two

years of tuition paid by students who will ultimately be dismissed from the program without ever

having the opportunity to sit for the USMLE while at Saba.

       92.     The existence of this internal Saba pretest is not disclosed to potential students in

Saba’s advertising and promotional materials, nor is it clearly set out in its course catalog or during

the first semesters of their education.


53
       20 U.S.C. § 1002(a)(2)(A)9(i)(I); 34 C.F.R. § 600.55(f)(1)(ii).

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       93.     At no point during the recruitment, application, or enrollment process did

Defendants disclose to Ms. Ortiz that she would be required to achieve a predetermined score on

an internal pretest before she could register for the USMLE Step 1.

       94.     After finishing two years of coursework, in August of 2021, Ms. Ortiz successfully

completed the requirements of the basic science curriculum.

       95.     Ms. Ortiz took her first pretest after her fifth semester in August of 2021 but did

not achieve Saba’s required score. She made second and third attempts at the pretest in the Fall of

2021 and Spring of 2022—after twice retaking her fifth semester course and paying additional

tuition—and she made a final attempt in August of 2022.

       96.     Ms. Ortiz did not achieve Saba’s required score on any of these pretests and, as a

result, was dismissed from Saba in August of 2022 without ever being able to register for the

USMLE Step 1 while at Saba.

V.     CLASS ACTION ALLEGATIONS

       97.     Plaintiff brings this action on behalf of herself and all other individuals who are

similarly situated pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3) on behalf of the

following proposed Class:

               All individuals who enrolled at Saba from September of 2017 to the present who:
               (i) are no longer enrolled at Saba and (ii) did not sit for the USMLE Step 1 exam.

       98.     The Class excludes Defendants and any entity in which Defendants have a

controlling interest, and their officers, directors, legal representatives, successors, and assigns.

       99.     The proposed Class satisfies the requirements of Rules 23(a) and 23(b)(3) of the

Federal Rules of Civil Procedure.




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       A.        Rule 23(a)(1): Numerosity

       100.      The potential number of Class members are so numerous that joinder would be

impracticable.

       101.      While the precise number of Class members enrolled at Saba from September of

2017 to the present is known only to Defendants, on information and belief, there were over 1,500

Class members. 54

       102.      The precise number of Class members can easily be determined through documents

and records maintained by Defendants.

       B.        Rule 23(a)(2): Commonality

       103.      The nature of the relief sought is common to all members of the Class and common

questions of law and fact exist as to all members of the Class.

       104.      These   common     legal   and    factual   questions   arise   from   Defendants’

misrepresentations to, and concealments from, the public regarding the truth about Saba’s USMLE

passage rate.

       105.      As alleged herein, these representations were widely disseminated on Saba’s

website, on social media, in emails to students, and at open houses around the country, among

other places.

       106.      The common questions of law and fact to the Class, the answers to which will

advance the resolution of the claims of all Class members include, but are not limited to:

                 A. Whether Defendants or their agents or employees made the misrepresentations
                    regarding the USMLE passage rate described above;

                 B. Whether the misrepresentations regarding the USMLE passage rate were unfair
                    or deceptive;


54
       See discussion regarding enrollment figures, supra Part IV.A.

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               C. Whether Defendants or their agents or employees omitted information
                  regarding the USMLE passage rate described above;

               D. Whether the omissions regarding the USMLE passage rate were unfair or
                  deceptive;

               E. Whether Defendants’ marketing and advertising of Saba was untrue, deceptive,
                  and/or misleading; and

               F. Whether Defendants received an unjust benefit to the detriment of the
                  members of the Classes through the misrepresentations described above.

       C.      Rule 23(a)(3): Typicality

       107.    Plaintiff’s claims are typical of the claims of the Class members.

       108.    Plaintiff and Class members’ claims are based on the same legal and factual

theories, in that: (i) Defendants’ misrepresentations and omissions have caused significant damage

to Plaintiff and members of the Class who have paid tuition and other fees to attend Saba since at

least September of 2017 and (ii) Plaintiff and members of the Class sustained damages arising out

of Defendants’ common course of unlawful conduct.

       D.      Rule 23(a)(4): Adequacy

       109.    Plaintiff is an adequate representative of, and will fairly, adequately, and vigorously

protect the interests of the Class because her interests in the vindication of her legal claims are

entirely aligned with the interests of the other members of the Class. Plaintiff is a member of the

Class and her interests coincide with, and are not antagonistic to, those of the Class.

       110.    Plaintiff is represented by counsel who are experienced in litigating complex

consumer protection cases and class action matters in federal courts and who have extensive

knowledge on issues of higher education law, consumer protection, and student debt.

       111.    The interests of the members of the Class will be fairly and adequately protected

by the Plaintiff and her counsel.



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        E.      Rule 23(b)(3): Predominance

        112.    Class action status is warranted under Rule 23(b)(3) because the common questions

of law and fact identified above predominate over any questions affecting individual members of

the Class.

        F.      Rule 23(b)(3): Superiority

        113.    Class action status is warranted under Rule 23(b)(3) because a class action is

superior to all other available methods for the fair and efficient adjudication of this matter in that:

                A. Defendants have acted in the same unlawful manner with respect to all members
                   of the Class;

                B. A legal ruling concerning the unlawfulness of Defendants’ representations and
                   omissions since September of 2017 would vindicate the rights of every Class
                   member; and

                C. Due to the numerous members of the Class and the existence of common
                   questions of fact and law, a class action will serve the economies of time, effort,
                   and expense as well as prevent possible inconsistent results. Litigating
                   individual lawsuits in the present case would be a waste of judicial resources
                   and addressing the common issues in one action would aid judicial
                   administration.

VI.     CAUSES OF ACTION

  COUNT I: VIOLATIONS OF MASSACHUSETTS CONSUMER PROTECTION ACT
                     MASS. GEN. LAWS ANN. CH. 93A, § 2
              (On behalf of Plaintiff and the Class Against Defendants)

        114.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

set forth herein.

        115.    Plaintiff brings this Count against Defendants on behalf of herself and the Class.

        116.    Defendants’ conduct, as alleged herein, constitutes unfair or deceptive acts or

practices and unfair methods of competition in trade or commerce in violation of Mass. Gen. Laws

Ann. ch. 93A, § 2 and the regulations promulgated thereunder pursuant to Mass. Gen. Laws Ann.

ch. 93A, § 2(c), including without limitation, 940 C.M.R. §§ 3.02 (2), 3.05(1) and 3.16.

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       117.    Mass. Gen. Laws Ann. ch. 93A § 2 provides that “[u]nfair methods of competition

and unfair or deceptive acts or practices in the conduct of any trade or commerce are hereby

declared unlawful.” Mass. Gen. Laws Ann. ch. 93A § 9 permits any consumer injured by a

violation of Mass. Gen. Laws Ann. ch. 93A §2 to bring a civil action, including a class action, for

damages and injunctive relief.

       118.    Defendants engaged in unfair and deceptive acts and/or practices in the conduct of

trade or commerce in violation of Mass. Gen. Laws Ann. ch. 93A § 2.

       119.    As alleged above, Defendants engaged in “unfair or deceptive acts or practices” in

Massachusetts by repeatedly making assertions to consumers that over 98% of Saba’s students

passed the USMLE Step 1.

       120.    These deceptive representations and omissions caused individuals such as Plaintiff

and members of the Class, acting reasonably under the circumstances, to enroll at Saba when they

otherwise would not have.

       121.    Such misrepresentations and omissions were also unfair because they were

unethical, unscrupulous, and caused substantial injury to Plaintiff and the Class.

       122.    Defendants’ unfair and deceptive acts or practices, as alleged herein, were willful

or knowing violations of Mass. Gen. Laws Ann. ch. 93A, § 2, within the meaning of Mass. Gen.

Laws Ann. ch. 93A, § 9(3).

       123.    In accordance with Mass. Gen. Laws Ann. ch. 93A, § 9(3), on July 28, 2023, a

proper written demand for relief was delivered to Defendants under Mass. Gen. Laws Ann. ch.93A,

on behalf of Plaintiff and the Class. The demand letter explains the nature of the unfair or deceptive

acts or practices, the injuries suffered by Plaintiff and the other members of the Class she seeks to

represent, and demands compensation for those injuries and other relief.



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        124.    Defendants did not make any offer of relief to Plaintiff or the Class.

        125.    As a result of Defendants’ unfair and deceptive acts or practices, Plaintiff and

members of the Class were harmed by their decision to attend Saba by taking out loans and paying

tuition and fees.

        126.     Pursuant to Mass. Gen. Laws Ann. ch. 93A, §§ 9(3) and 9(4), Plaintiff and each of

the other members of the Class are entitled to recover double or treble the amount of their actual

damages, or statutory damages, whichever is greater, plus their reasonable attorneys’ fees and the

costs of this action.

          COUNT II: VIOLATIONS OF MASS. GEN. LAWS ANN. CH. 266, § 91
               (On behalf of Plaintiff and the Class Against Defendants)

        127.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

set forth herein.

        128.    Plaintiff brings this Count against Defendants on behalf of herself and the Class.

        129.    Defendants’ marketing and advertising of Saba is untrue, deceptive, and

misleading, in violation of Mass. Gen. Laws ch. 266, § 91.

        130.    At all times relevant to this action, Defendants knew, or could, upon reasonable

investigation have ascertained, that their marketing and advertising of Saba was untrue, deceptive,

and misleading.

        131.     Defendants’ untrue, deceptive, and misleading marketing and advertising of Saba

has continued throughout the Class Period and is continuing as of the filing of this Complaint.

        132.    Defendants’ untrue, deceptive, and misleading marketing and advertising of Saba

caused Plaintiff and members of the Class harm when they decided to attend Saba including taking

out loans and paying tuition and fees.




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        133.    As a student of Saba who was damaged by Defendants’ untrue, deceptive and

misleading advertising and marketing, Plaintiff is entitled to and does bring this class action to

seek all available remedies under Mass. Gen. Laws ch. 266, § 91.

                            COUNT III: UNJUST ENRICHMENT
                     (On behalf of Plaintiff and the Class Against Defendants)

        134.    Plaintiff repeats and realleges each and every allegation set forth above as if fully

set forth herein.

        135.    This claim is pled in the alternative if the Court finds that no further remedy at law

is found to exist.

        136.    Plaintiff brings this Count against Defendants on behalf of herself and the Class.

        137.    As alleged above, Plaintiff and the members of the Class have conferred benefits

upon Defendants including, but not limited to, tuition and fees.

        138.    Defendants have actual knowledge of such benefits, voluntarily accepted, and

retained the benefits.

        139.    Such benefits were conferred upon Defendants without sufficient justification at

the expense of Plaintiff and members of the Class.

        140.    Under the circumstances set forth above, it would be inequitable for Defendants to

retain the benefits of Plaintiff and Class members’ tuition and fees, which Plaintiff and the Class

would not have paid if Defendants had provided truthful and accurate information regarding the

USMLE Step 1 pass rate.

        141.    Plaintiff, on behalf of herself and the Class, seeks restitution or, in the alternative,

imposition of a constructive trust on the funds inequitably received and retained.




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VII.    PRAYER FOR RELIEF

        WHEREFORE, in accordance with the above claims, Plaintiff requests judgment against

Defendants in her favor, and in favor of the members of the Class as follows:

        1.     Certifying this action as a class action pursuant to Federal Rule of Civil Procedure

Rule 23(b)(3), appointing Plaintiff as representative of the Class, providing Plaintiff compensation

as a class representative if the Court deems appropriate, and appointing Plaintiff’s counsel as

counsel for the Class;

        2.      Declaring, adjudging, and decreeing that the conduct alleged herein is unlawful,

including, but not limited to, Defendants’ misrepresentation of its USMLE passage rates is

unlawful in violation of Mass. Gen. Laws Ann. ch. 93A, § 2 and Mass. Gen. Laws Ann. ch. 266,

§ 91;

        3.      Enjoining Defendants from continuing to misrepresent Saba’s USMLE passage

rate;

        4.      Awarding restitution to Plaintiff and the Class for all payments of tuition and fees

made to Defendants;

        5.      Awarding actual or statutory damages, whichever results in a greater recovery,

and multiple damages to Plaintiff and the Class, including pre- and post-judgment interest;

        6.      Enjoining Defendants from ever collecting on any private loans or other tuition

payment plans of Plaintiff or members of the Class;

        7.      Granting Plaintiff the costs of suit, including reasonable attorneys’ fees,

expenses, and costs; and




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       8.       Affording Plaintiff and members of the Class with such other, further, and

different relief as the nature of the case may require or as may be determined by this Court to be

just, equitable, and proper.

VIII. JURY DEMAND

       Plaintiff hereby demands trial by jury.



Dated: August 30, 2023

                                             Respectfully submitted,

                                             /s/ Patrick T. Egan

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